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                                                                                                     E-FILED
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                                                                        Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

 KENNETH V. SHULTS, COLLEEN M. SHULTS,                   )
 SECOND AMENDMENT FOUNDATION, INC.,                      )
 and ILLINOIS STATE RIFLE ASSOCIATION,                   )
                                                         )
                        Plaintiffs,                      )   No. 16-cv-2214
                                                         )   Hon. Colin S. Bruce
                           v.                            )   Judge Presiding
                                                         )
 GEORGE H. SHELDON, DIRECTOR, in his                     )   Hon. Eric I. Long
 official capacity as Director of the Illinois           )   Magistrate Judge
 Department of Children and Family Services,             )
                                                         )
                        Defendant.                       )

                 DEFEENDANT’S MEMORANDUM IN SUPPORT OF HIS
                             MOTION TO DISMISS

       NOW COMES the Defendant, George H. Sheldon, Director, Illinois Department of

Children and Family Services (hereinafter “the Department”), by his attorney, Lisa Madigan,

Attorney General of the State of Illinois, and submits his memorandum in support of his Motion

to Dismiss the complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

       Plaintiffs, foster parents Kenneth V. Shults and Colleen M. Shults, Second Amendment

Foundation, Inc., and Illinois State Rifle Association, bring this action pursuant to 42 U.S.C. §

1983, alleging that Director Sheldon violated their civil rights by maintaining licensing

regulations for the safe storage of guns and ammunition in foster homes. The regulation and

policies at issue apply only to licensed foster homes in Illinois. As foster parents, the Shultses

contract with the State of Illinois to maintain a foster home in which youth in the care and

custody of the State of Illinois reside. They are free to choose at any time not to be foster

parents, at which time licensing regulations for foster homes would no longer apply to them.

Moreover, the licensing requirements for the safe storage of guns and ammunition in foster
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homes are reasonable and do not unconstitutionally burden the Shultses’ Second Amendment

rights. Therefore, Plaintiffs have not pled a claim upon which relief can be granted, and their

complaint should be dismissed.

                             Statutory and Regulatory Background

       The Department has the legal authority to place children in substitute care apart from

their parents or guardians when it is in the best interests of the children, under the Abused and

Neglected Child Reporting Act, 325 ILCS 5, Adoption Act, 750 ILCS 50, Juvenile Court Act of

1987, 705 ILCS 405, and Children and Family Services Act, 20 ILCS 505; see also Ill. Admin.

Code tit. 89, §§ 301.10, 301.40. Children who have been taken into state custody may be placed

in a licensed foster family home, defined as “a facility for child care in residences of families

who receive no more than 8 children unrelated to them…” Child Care Act of 1969, 225 ILCS

10/2.17.

       DCFS is charged with making rules that are necessary to carry out its statutory

obligations. 20 ILCS 505/4. “Administrative rules and regulations have the force and effect of

law, and must be construed under the same standards which govern the construction of statutes.”

People ex rel. Madigan v. Ill. Commerce Comm’n, 231 Ill.2d 370 (Ill. 2008). Department Rule

402 provides the licensing standards with which foster parents must comply. Ill. Admin. Code

tit. 89, § 402.1. (Department Rule 402, Licensing Standards for Foster Family Homes, is

attached hereto in its entirety as Exhibit A).

       Potential foster parents submit applications to become licensed with the Department. Ill.

Admin. Code tit. 89, § 402.4(a). Each foster family home applicant and adult member of the

household is subject to a background check and fingerprinting. Ill. Admin. Code tit. 89, §

402.4(c). Certain criminal convictions serve as a bar to receiving a license, including homicide,




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kidnapping, and sex offenses. Ill. Admin. Code tit. 89, § 402, Appendix A. Members of the

potential foster family home between the ages of 13 to 17 years-old are subject to a Child and

Neglect Tracking System (CANTS) and Child Sex Offender Registry check. Ill. Admin. Code

tit. 89, § 402.4(c). Foster parents and other members of the home are subject to medical

examinations to certify that they are free of any communicable diseases or any physical or

mental conditions that would affect their ability to provide care. Ill. Admin. Code tit. 89, §

402.14.

       After an application is submitted, a licensing representative employed by the Department

or a private agency conducts a licensing study of the home, which a supervisor reviews. The

supervisor approves the recommendation or denial of the license based on compliance or non-

compliance with licensing standards. The written study is signed by both the performing

licensing representative and the representative’s supervisor. Ill. Admin. Code tit. 89, § 402.4(d).

          Unless revoked by the Department or voluntarily relinquished by a family, a foster family

home license is valid for four years. Ill. Admin. Code tit. 89, § 402.7(a). Foster parents must

submit a new licensing application when the family withdraws from the process but decides to

reapply; there has been a change of name or address of the foster family home; there has been a

change in status of a joint license, due to marriage, divorce or death; or a family seeks to reapply

after a previously held license had been revoked or rejected. Ill. Admin. Code tit. 89, § 402.4(e).

          The Department’s rules provide detailed foster home licensing requirements that mandate

how many children shall be placed in a foster family home, sleeping arrangements, nutrition and

meals, religious practices, the employment of foster parents, how children are to be disciplined

and other requirements. See Ill. Admin. Code tit. 89, §§ 402.8, 402.9, 402.11, 4021.15, 402.18,

402.21. The Department’s general requirements forbid tobacco use in the foster family home,




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require smoke and carbon monoxide detectors, specify how pools and hot tubs are to be

maintained and require that dangerous household supplies or tools and all prescription or

nonprescription drugs be kept in a safe place. Ill. Admin. Code tit. 89, §§

402.8(e)(d)(g)(h)(m)(n). See id. at §§ 402.10(a) (number of meals and time span between

meals); § 402.10(f) (manner in which meals are served and sanitary conditions); § 402.9(g)

(linen changes); §§ 402.9(a), (b), (c) (sleeping arrangements); § 402.21(i) (withholding child’s

spending money for disciplinary purposes); § 402.16(b) (supervision of the child); § 402.21(c)

(corporal punishment).

       Beyond these rules, the Department has promulgated rules for safe storage of guns and

ammunition in licensed foster homes. Ill. Admin. Code tit. 89, 402.8(i), effective August 1,

2009, states:

       Any and all firearms and ammunition shall be locked up at all times and kept in
       places inaccessible to children. No firearms possessed in violation of a State or
       federal law or a local government ordinance shall be present in the home at any
       time. Loaded guns shall not be kept in a foster home unless required by law
       enforcement officers and in accordance with their law enforcement agency’s
       safety procedures.

       The Department also issues procedures which expand on the rules and provide guidance

in their application. Department Procedure 402.8(i), effective September 22, 2010, Guns, Rifles

and Ammunition (attached as Exhibit B), provides that:

       Guns, rifles, and ammunition shall be stored in a locked place, inaccessible to
       children. This may be a container, cabinet, section of a room, or entire room,
       which is locked and inaccessible to children. Ammunition and firearms shall be
       stored separately. Licensing staff shall observe the storage of these items and
       document the location on the CFS 590.

       The licensing representative shall ensure that the foster family home
       applicant(s)/licensee(s) sign form CFS 452-A, Acknowledgment of Compliance
       and, if applicable, form CFS 452-2, Foster Family Firearms Agreement.




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       If any loaded gun is kept in the home, the licensing representative shall verify that
       the owner is a law enforcement officer and keeping the gun loaded is required by
       their law enforcement agency’s policies. Secure the name and address of the law
       enforcement officer’s agency, obtain a copy of the agency’s policies, review
       them, and place them in the foster family home licensing record. Document on the
       CFS-590.

       The Department requires that licensed foster homes disclose the presence of guns and

ammunition in the foster homes. The Department requires the completion of a form when a

foster family home does not have any firearms in the foster home. CFS 452-A,

Acknowledgement of Compliance Section 402 Licensing Standards for Foster Family Homes

(attached as Exhibit C). When a foster family does have firearms in the household, the

Department requires completion of a different form acknowledging that ammunition is kept in

locked storage, separate from any firearms, with firearms inaccessible to children. CFS 452-2,

Foster Family Firearms Agreement (attached as Exhibit D).

       On May 1, 2015, the Department issued Policy Guide 2015.08, “Enhanced Firearm

Safety in Foster Family Homes.” (Attached as Exhibit E). Policy Guide 2015.08 was created to

add greater levels of safety to foster homes by requesting and recommending that “foster parents

store any and all firearms outside the foster home and its property” and that firearms and

ammunition in the foster home be “unloaded and secured in separate and locked storage

receptacles specifically manufactured to keep firearms and ammunition secure.” Id. The Policy

Guide also requires trigger locks on all firearms and that the keys to access all firearms must be

kept with the owner or stored outside the foster home, and not shared with anyone.

       Policy Guide 2015.08 was issued in response to the Department of Children and Family

Services’s Inspector General’s recommendation that trigger locks and other enhanced safe

storage practices for all firearms be implemented in foster family homes. “These

recommendations were made subsequent to an investigation of a foster youth who died from a



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self-inflicted gunshot wound after the youth found keys to his foster parents’ gun cabinet. The

Inspector General also completed an in-depth literature review of youth suicide that contributes

in making these recommendations.” Id.

                                       Factual Background

       The Shultses reside in Fairmount, Illinois. Complaint, hereinafter “Compl.” ¶ 8. They

have a licensed foster home. One youth in foster care resides in the home, along with three

biological children. Compl. ¶ 8. The Shultses have been licensed foster parents through DCFS

since 2007. Compl. ¶¶ 8, 10. The complaint alleges that the Shultses are allowed to possess

firearms in Illinois, but “are prohibited by the IDCFS policy complained of herein from

possessing loaded functional firearms in their homes so long as they currently are foster parents,

or plan to be foster parents in the future.” Compl. ¶ 12. The Shultses are members of the Second

Amendment Foundation and the Illinois State Rifle Association. The stated purpose of both

organizations is to protect the constitutional right to privately own and possess firearms within

Illinois. Compl. ¶¶ 14, 16.

                                            Argument

I.     The Applicable Standard.

       Under Federal Rule of Civil Procedure 12(b)(6), a district court must dismiss a complaint

if it fails to state a claim upon which relief can be granted. The complaint must “[set] forth facts

sufficient to support a cognizable legal theory.” Scherr v. Marriott Int’l, Inc., 703 F.3d 1069,

1073 (7th Cir. 2013). The court will take well-pled allegations as true and draw all reasonable

inferences in favor of the non-moving party. Id. The court may take judicial notice of matters of

public record even though they are outside the pleadings. Anderson v. Simon, 217 F.3d 472,

474-475 (7th Cir. 2000). Importantly, a plaintiff's obligation to provide the grounds for her




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entitlement to relief requires more than labels and conclusions, and a formulaic recitation of a

cause of action’s elements will not do. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007).

A plaintiff’s conclusory legal statements should not be taken into account. Brooks v. Ross, 578

F.3d 574, 581 (7th Cir. 2009).

II.     Defendant Does Not Violate The Plaintiffs’ Second Amendment Constitutional
        Rights By Requiring Safe Storage of Firearms and Ammunition.

        Plaintiffs allege that DCFS policy and rules, “based solely on their status as foster

parents,” violate their right to possess and carry firearms as secured by the Second Amendment.

Compl. ¶ 30. Plaintiffs are wrong. The Department’s policies and rules require the safe storage

of firearms and ammunition in foster homes. No court has held that foster parents’ right to

firearms is guaranteed by the Second Amendment.

        In Dist. of Columbia v. Heller, 554 U.S. 570, 635 (2008), the Supreme Court confirmed

that “[l]ike most rights, the right secured by the Second Amendment is not unlimited.” Id. at

626. The Court explained that “nothing in our opinion should be taken to cast doubt on

longstanding prohibitions on the possession of firearms by felons and the mentally ill, or laws

forbidding the carrying of firearms in sensitive places such as schools and government buildings,

or laws imposing conditions and qualification on the commercial sale of arms.” Id. at 626-27.

The Court added that this list of “presumptively lawful regulatory measures” was illustrative, not

exhaustive. Id. at 627 n. 26.

        In Ezell v. City of Chicago, 651 F.3d 684 (7th Cir 2011), the Court of Appeals established

a two-part framework for resolving Second Amendment issues like those present in this case.

“First, the threshold inquiry . . . will be a ‘scope’ question: Is the restricted activity protected by

the Second Amendment in the first place?” Id. at 701. If the activity regulated by the challenged

law is not within the scope of the Second Amendment, then “the activity is categorically



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unprotected, and the law is not subject to further Second Amendment review.” Id. at 702-03.

Second, if the regulated activity is within the scope of the Second Amendment, “then there must

be a[n] . . . inquiry into the strength of the government’s justification for restricting and

regulating the exercise of Second Amendment rights.” Id. at 703.

         A.     The Department’s Rules for Storage of Guns and Ammunition in Foster
                Homes Do Not Implicate a Core Second Amendment Right.

         The Shultses contend that they have a constitutional right to be foster parents. Compl. ¶

3. This is simply not so. No court has found that there is a constitutional right to be a foster

parent. Foster parents have a voluntary contractual temporary relationship with the State. While

they are foster parents with children in care placed in their homes, they are obligated to comply

with state law and regulation. These laws and regulations restrict their actions in their homes.

See Ill. Admin. Code tit. 89, § 402.1; discussion supra at 2-4. The relationship of a foster parent

with the State is contractual, and compliance with the licensing rules is an essential component

of that contractual relationship.

         The Seventh Circuit Court of Appeals has determined that Illinois foster parents have no

cognizable liberty interest in their relationship with the foster children in their homes. Procopio

v. Johnson, 994 F.2d 325, 328-30 (7th Cir. 1993). Instead, a foster parent’s role is that of a

“‘temporary weigh station on the road of a child’s life,’ not a family for whom a future

permanent situation is guaranteed.” Procopio, 994 F.2d at 329 (quoting Johnson v. Burnett, 182

Ill. App. 3d 574, 579 (Ill. App. Ct. 1989)). The Shultses have no constitutional right to be foster

parents. Their status as foster parents is dependent on their compliance with the Department’s

rules.

         The threshold inquiry is whether foster parents retain an unfettered Second Amendment

right to possess firearms in a licensed foster home. They do not. The Shultses voluntarily



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agreed to be foster parents in Illinois and have signed contracts to abide by the Department’s

rules, regulations, and policies to maintain a licensed foster home in Illinois. If they choose to no

longer be foster parents, they will not be subject to any of the restrictions that they complain of.

Foster parents in Illinois are independent contractors and not employees or agents of the State.

Nichol v. Stass, 192 Ill. 2d. 233, 238 (Ill. 2000). See also Lofton v. Sec’y of Dep’t of Children &

Family Servs., 358 F.3d 804, 809 (11th Cir. 2004); Smith v. Org. of Foster Families for Equal. &

Reform, 431 U.S. 816, 845 (1977) (noting that, unlike the natural family, which has “its origins

entirely apart from the power of the State,” the foster parent-child relationship “has its source in

state law and contractual arrangements”).

       As part of their contracts with the State to be foster parents and to license their homes,

foster parents give up certain rights and privileges that they would otherwise enjoy. For

example, foster parents’ business and employment are limited, including a requirement that any

business operation on the premises be approved. Further, employment outside of the home is

permitted, but a plan for supervision of the children must be approved in writing before children

are placed in the foster home. Ill. Admin. Code tit. 89, § 402.11. Written consent of the parent,

juvenile court, or legal custodian is required for church attendance in a faith different from the

child’s. §402.25. Likewise, written consent is required for extensive trips or excursions. Ill.

Admin. Code tit. 89, §402.25. The use of corporal punishment is prohibited and other forms of

punishment are proscribed. Ill. Admin. Code tit. 89, §402.11. Foster parents do not have a right

to exercise their religious beliefs about punishment on a child in foster care. Backlund v.

Barnhart, 778 F.2d 1386, 1389-90 (9th Cir. 1985).

       It is fundamentally accepted that parties may contract away rights, even of constitutional

dimension, as well as statutory rights. Gaylor v. Vill. of Ringwood, 363 Ill. App. 3d, 543, 549




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(2d Dist. 2006)(internal citation omitted). Plaintiffs are free to choose to have the same access

to firearms as other Illinois citizens by simply choosing not to be foster parents.

       As the Court recognized in Smith, 431 U.S. at 856–58, state law defines the

circumstances under which a child may be placed in foster care, prescribes the obligations of the

foster parents, and provides for the removal of the child from the foster home “in [the]

discretion” of the agency with custody of the child. Id. The agency compensates the foster

parents, and reserves in its contracts the authority to decide as it sees fit whether and when a

child shall be returned to his natural family or placed elsewhere. Were it not for the system of

foster care that the state maintains, the relationship for which constitutional protection is asserted

would not even exist. Lofton, 358 F.3d at 809; cf. Smith, 431 U.S. at 845 (noting that, unlike the

natural family, which has “its origins entirely apart from the power of the State,” the foster

parent-child relationship “has its source in state law and contractual arrangements”); Dupuy v.

Samuels, 397 F.3d 493, 514 (7th Cir. 2005) (plaintiffs have chosen to be licensed by the

Department as foster parents, which is “a contractual role created by the State for the purpose of

assisting the unfortunate victims of child abuse or neglect.”).

       Further, “foster parents do not enjoy the same constitutional protections that natural

parents do.” Backlund, 778 F.2d at 1389–90 (9th Cir. 1985); see also Kyees v. Cty. Dep’t of

Public Welfare, 600 F.2d 693, 698 (7th Cir. 1979); Drummond v. Fulton County Department of

Family & Children’s Servs., 563 F.2d 1200, 1206-07 (5th Cir.1977) (en banc); Sherrard v.

Owens, 484 F. Supp. 728, 740-41 (W.D. Mich. 1980), aff’d, 644 F.2d 542 (6th Cir. 1981) (per

curiam).

       The relationship between these foster parents and foster child is a creature of Illinois

child welfare statutes. The Shultses chose to become foster parents, voluntarily applied for and




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were granted a license to have their home registered as a foster home and, in doing so, agreed to

be subject to Department rules, regulations and policies in order to protect foster children placed

in their care. Given this framework, the lawful regulatory measures taken by the Department to

regulate a licensed foster home are not within the scope of the Second Amendment, and there is

no need to subject them to further Second Amendment review. Ezell, 651 F.3d at 702-03.

       The Shultses claim that their failure to abide by their agreement to keep firearms safely

away from the child placed in their care will result in removal of the child. But that does not

make the agreement to be foster parents involuntary or coercive. See id. The question whether

participation as a foster parent is voluntary for failure to abide by an agreement to keep children

safe has been answered in the negative: knowing that removal is a consequence of jeopardizing

children’s safety does not render foster parents’ agreement involuntary or make the process

constitutionally infirm. See Dupuy v. Samuels, 465 F.3d at 761-62. Moreover, the State is free

to remove a foster child in care from a particular foster home at any time. As the Second Circuit

recognized in Rivera v. Marcus, 696 F.2d 1016, 1017 (2d Cir. 1982): “Although foster parents

often provide the same care, love and support expected of natural or adoptive parents, the foster

relationship is frequently of shorter duration and is carefully circumscribed by a contract which

typically authorizes the state to remove a child from the foster home at any time.” Because

plaintiffs fail to state a claim upon which relief can be granted and their complaint should be

dismissed.

       B.      The Government’s Regulation of Firearms and Ammunition in Foster
               Homes Is Justified.

       Even if the regulation and policies of the State that Plaintiffs complain about impinge on

their core Second Amendment rights, the regulations and policies for safe storage of guns and

ammunition in foster homes satisfy the standard articulated in Ezell v. City of Chicago, 651 F.3d



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684, 708-09 (7th Cir. 2011). There is a “strong public interest justification” for the regulation

and “a close fit between [that regulation] and the actual public interest it serves.” Id.

       Firearms, especially unsecured and loaded firearms, are dangerous when children are in

the home. See David C. Grossman et al., Gun Storage Practices and Risk of Youth Suicide and

Unintentional Firearm Injuries, 293 JAMA 707, 711-13 (Feb. 2005), available at

jamanetwork.com/journals/jama/fullarticle/200330. For example, in 2013, there were 1113 gun

deaths in Illinois, which include homicides, suicides and unintentional shootings. 151 children

and adolescents 19 and younger were killed. See Ill. Council against Handgun Violence

(“ICHV”), available at http://www.ichv.org/facts-about-gun- violence/general-facts-about-gun-

violence (last visited November 16, 2016) (citing CDC National Center for Health Statistics

mortality report online, 2013). Nationwide, of all injury deaths of individuals 15 through 19

years of age in 2009, more than 1 in 4 were firearm related, and of those 20 years-old and

younger, 1 in 5 were firearm related. M. Denise Dowd et al., American Academy of Pediatrics,

Council on Injury, Violence, and Poison Prevention, Executive Committee, Firearm-Related

Injuries Affecting the Pediatric Population, 130 Pediatrics, Issue 5 (Nov. 2012), available at

http://pediatrics.aappublications.org/content/130/5/e1416.full, citing National Center for Injury

Prevention and Control, U.S. Centers for Disease Control and Prevention, Web-Based Injury

Statistics Query & Reporting System (WISQARS) Injury Mortality Reports, 1999–2009, for

national, regional, and states (May, 2012).

       There is no doubt that guns are dangerous to children and there is a strong public interest

served in protecting children from gun death and injury. Most guns involved in self-inflicted and

unintentional firearm injuries originate either from the victim's home or the home of a friend or

relative. Grossman, D. et al., Self-inflicted and Unintentional Firearm Injuries Among Children




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and Adolescents: The Source of the Firearm, 149 Archives of Pediatric and Adolescent

Medicine, 875-878 (1999), available at

http://jamanetwork.com/journals/jamapediatrics/fullarticle/347593. Firearms in foster homes

have led to tragic consequences. E.g. McLean v. Gordon, 548 F.3d 613, 616-17 (8th Cir. 2008)

(section 1983 and wrongful death action against state social worker after foster child shot and

killed by another child in a foster home).

       The close fit between the regulations and the public interest served, Ezell, id., is borne out

in reported studies. The practices of keeping guns locked, unloaded, storing ammunition locked,

and in a separate location each has a protective effect. Grossman, id. at 707; M. Denise Dowd et

al., id. See also Jackson v. City and Cty. of S.F., 746 F.3d 953, 966 (9th Cir. 2014) (trigger-lock

requirement in all homes reasonable under the Second Amendment because “firearm injuries are

the third-leading cause of death in San Francisco . . . having unlocked firearms in the home

increases the risk of gun-related injury, especially to children.”).

       To be clear, the licensing regulations do not ban firearms in foster homes. The rules and

policies requiring safe storage of firearms and ammunition in licensed foster homes fit the public

interest that is served in regulating foster homes. Children in foster care have a right to be secure

in their placements. Children in state care and custody are removed from their parents’ care in

the first instance because they were abused or neglected. The state has enacted numerous safety

measures to keep children safe in the foster homes they are placed in. Restricting children’s

ability to access firearms while placed in a foster home is in the public interest. See, e.g.,

McLean, 548 F.3d at 616-17.

       It is noteworthy that the rule and policy at issue in this case are less restrictive than the

trigger-lock requirement that was approved in Jackson v. City and Cty. of S.F. All homes in San




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Francisco are affected by that regulation, id. at 966, whereas the regulation in this case concerns

only foster homes which provide temporary care for children in the care and custody of the State.

         The Shultses’ voluntary, contractual-based situation is temporary; one day foster

children will not be in their home and they will be free to have loaded, unsecured firearms. Yet,

in the meantime, with a foster child placed in the Shultses’ licensed foster home, they must

continue to abide by the regulations and policies to keep the children placed in their care safe.

The Shultses are free to at any time to relinquish their foster home license and not be subject to

the rules and policies that they complain about. This is not a significant burden on their Second

Amendment rights. The regulation is in the public interest and the regulation closely fits the

public interest served. The complaint should be dismissed.

III.   The Licensing Requirements for Safe Storage of Guns and Ammunition in Foster
       Homes Do Not Violate Equal Protection.

       Plaintiffs’ equal protection challenge fails because there is a rational basis for the

licensing requirements for safe storage of guns and ammunition in foster homes. Under the

Equal Protection Clause, a court should uphold a challenged law if there is a rational basis

supporting it. Where a law is upheld under the appropriate Second Amendment analysis, the

question for equal protection purposes is whether the law has a rational basis, so long as a

suspect class is not involved. See Teixeira v. Cty. of Alameda, 822 F.3d 1047, 1052 (9th Cir.

2016), citing Romer v. Evans, 517 U.S. 620, 631 (1996) (“we will uphold a legislative

classification so long as it ‘neither burdens a fundamental right nor targets a suspect class,’ and

‘bears a rational relation to some legitimate end.’”); Kwong v. Bloomberg, 723 F.3d 160, 170

n.19 (2d Cir. 2013); Nat’l Rifle Ass’n of Am. v. Bureau of Alcohol, Tobacco, Firearms &

Explosives, 700 F.3d 185, 211–12 (5th Cir. 2012); Hightower v. City of Boston, 693 F.3d 61, 83

(1st Cir. 2012).



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        The Shultses do not comprise a suspect class. Jones v. Ada S. McKinley Cmty. Servs.,

No. 89 C 0319, 1989 WL 152352, at *1, 6 (N.D. Ill. Nov. 28, 1989) (“[I]n light of the

characteristics of classes which have received protection, discrete and insular minorities unable

to utilize the political process to correct inequalities, it is absurd to assert foster parents would

qualify for protection.”).

          This Court should uphold the challenged licensing requirement under the Equal

Protection Clause because there is a rational basis for the safe storage requirements for guns and

ammunition in foster homes. See Baskin v. Bogan, 766 F.3d 648, 654 (7th Cir. 2014). “The

question is whether the challenged legislation is rationally related to a legitimate state interest.”

Heller, 509 U.S. at 320. Under this deferential standard, a legislative classification “is accorded

a strong presumption of validity,” id. at 319, and “must be upheld against equal protection

challenge if there is any reasonably conceivable state of facts that could provide a rational basis

for the classification,” id. at 320 (citation omitted). “[T]he burden is on the one attacking the

legislative arrangement to negative every conceivable basis which might support it, whether or

not the basis has a foundation in the record.” Id. at 320-21 (citation omitted). Lofton, 358 F.3d at

818.

        In Baskin, the Seventh Circuit Court of Appeals specifically highlighted “the Supreme

Court’s insistence that ‘whether embodied in the Fourteenth Amendment or inferred from the

Fifth, equal protection is not a license for courts to judge the wisdom, fairness, or logic of

legislative choices. In areas of social and economic policy, a statutory classification that neither

proceeds along suspect lines nor infringes fundamental constitutional rights must be upheld

against equal protection challenge if there is any reasonably conceivable state of facts that could




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provide a rational basis for the classification.’” 766 F.3d at 654 (citing FCC v. Beach

Communications, Inc., 508 U.S. 307, 313 (1993).

       In this case, the rational basis for the safe-storage licensing policies is clear and well

supported. The practice of keeping firearms locked, unloaded and storing ammunition in a

locked location separate from firearms serves as a protective measure that reduces youth suicide

and unintentional injury in homes with children and teenagers. Grossman et al., 293 JAMA at

711-13. See also M. Denise Dowd et al., id.

       Additional support for the trigger-lock requirement is found in a study that concludes that

many young children have the same trigger pull strength as women. Young children possess the

physical strength to fire a gun: 25% of 3-to-4-year-olds, 70% of 5-to-6-year-olds, and 90% of 7-

to-8-year-olds can fire most handguns. Naureckas, S.M. et al, Children’s and Women’s Ability

to Fire Handguns, 149 Archives of Pediatric and Adolescent Medicine, 1318 (Dec. 1995). See

also Hemenway, D., Solnick, S.J., Children and Unintentional Firearm Death, Injury

Epidemiology. 2015: 2:26-31, available at

http://injepijournal.springeropen.com/articles/10.1186/s40621-015-0057-0 (study highlights the

fact that unintentional firearm death to children is a problem of children shooting children and

thus the importance of keeping guns away from children, their siblings, and their friends). There

is no question that there is a rational basis for the licensing requirements for safe storage of guns

and ammunition in foster homes. This Court should dismiss Plaintiffs’ equal protection claim.

                                            Conclusion

       WHEREFORE, for the foregoing reasons, Defendant George H. Sheldon, Director of the

Department, requests that this Honorable Court grant his motion to dismiss Plaintiffs’ complaint

pursuant to Fed. R. Civ. P. 12(b)(6).




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                        Respectfully submitted,

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

KENNETH V. SHULTS, COLLEEN M. SHULTS,                   )
SECOND AMENDMENT FOUNDATION, INC.,                      )
and ILLINOIS STATE RIFLE ASSOCIATION,                   )
                                                        )
                       Plaintiffs,                      )   No. 16-cv-2214
                                                        )   Hon. Colin S. Bruce
                          v.                            )   Judge Presiding
                                                        )
GEORGE H. SHELDON, DIRECTOR, in his                     )   Hon. Eric I. Long
official capacity as Director of the Illinois           )   Magistrate Judge
Department of Children and Family Services,             )
                                                        )
                       Defendant.                       )

                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of November, 2016, I will electronically file the
foregoing with the Clerk of the United States District Court for the Central District of Illinois
using the CM/ECF system, which will then send a notification of such filing to the following:

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